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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



    STANDING ROCK SIOUX TRIBE,

         Plaintiff,

         and

    CHEYENNE RIVER SIOUX TRIBE,

         Plaintiff-Intervenor,


                 v.                                         Civil Action No. 16-1534 (JEB) (and
                                                            Consolidated Case Nos. 16-1769 and
                                                            16-267)
    U.S. ARMY CORPS OF ENGINEERS,

         Defendant,

         and

    DAKOTA ACCESS, LLC,

         Defendant-Intervenor and Cross-
         Claimant.




                                              ORDER

        For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

        1. The parties shall coordinate to finalize an oil-spill response plan affecting Tribal

resources and lands at Lake Oahe, which they shall submit to the Court by April 1, 2018;

        2. Dakota Access, with input from the Tribes, shall select a third-party independent

expert engineering company to review easement conditions and regulations, and to assess


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compliance with all such conditions as well as other integrity threats. The results of the

independent audit shall be filed with the Court by April 1, 2018; and

       3. Dakota Access shall submit to the Court bi-monthly reports including the following

information with respect to the segment of the pipeline crossing Lake Oahe (i.e., between the

valves closest to each shore of Lake Oahe):

       a. Inline-inspection run results or direct-assessment results performed on the pipeline

           during the reporting period;

       b. The results of all internal-corrosion management programs and any actions taken in

           response to findings of internal corrosion;

       c. Any new encroachment on the right‐of‐way during the reporting period;

       d. Any new integrity threats identified during the reporting period;

       e. Any reportable incidents that occurred during the reporting period;

       f. Any leaks or ruptures that occurred during the reporting period;

       g. A list of all repairs on the segment made during the reporting period;

       h. Ongoing damage-prevention initiatives on the pipeline and an evaluation of their

           success or failure;

       i. Any changes in procedures used to assess and monitor the segment; and

       j. Any company mergers, acquisitions, transfers of assets, or other events affecting the

           management of the segment.

Dakota Access shall file the first such report on or before December 31, 2017, and shall file

subsequent reports every 60 days thereafter until remand is complete.

SO ORDERED.

                                                     /s/ James E. Boasberg
                                                     JAMES E. BOASBERG

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                                          United States District Judge

Date: December 4, 2017




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